















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 11th
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Eastland,
Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion

&nbsp;

Arthur Lee Jackson

Appellant

Vs.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Nos. 11-01-00369-CR &amp;
11-01-00370-CR&nbsp; --&nbsp; Appeals from Dallas County

State of Texas

Appellee

&nbsp;

In each cause, the
jury convicted Arthur Lee Jackson of aggravated kidnapping,[1]
found that he did not voluntarily release the victims in a safe place, and
assessed his punishment at confinement for 20 years.&nbsp; We affirm.&nbsp; 

In each appeal,
appellant presents two issues for review.&nbsp;
In his issues, appellant challenges the legal and factual sufficiency of
the evidence in support of his convictions.&nbsp;
In Cause No. 11-01-00369-CR, appellant was convicted of the aggravated
kidnapping of B.C. by abducting B.C. with the intent to inflict bodily injury
or sexually abuse B.C.&nbsp; In Cause No.
11-01-00370-CR, appellant was convicted of the aggravated kidnapping of E.G.
either by abducting E.G. with the intent to inflict bodily injury or sexually
abuse E.G. or by abducting E.G. and using or exhibiting a deadly weapon during
the commission of the offense.&nbsp; The jury
was instructed that it could find appellant guilty as a party to the offense or
as the principal actor.&nbsp; 








In order to determine
if the evidence is legally sufficient, we must review all of the evidence in
the light most favorable to the verdict and determine whether any rational
trier of fact could have found the essential elements of the crime beyond a
reasonable doubt.&nbsp; Jackson v. Virginia,
443 U.S. 307 (1979); Jackson v. State, 17 S.W.3d 664 (Tex.Cr.App.2000).&nbsp; In order to determine if the evidence is
factually sufficient, we must review all of the evidence in a neutral light and
determine whether the evidence supporting guilt is so weak as to render the
conviction clearly wrong and manifestly unjust or whether the evidence
supporting guilt, although adequate when taken alone, is so greatly outweighed
by the overwhelming weight of contrary evidence as to render the conviction
clearly wrong and manifestly unjust.&nbsp;
Vasquez v. State, 67 S.W.3d 229, 236 (Tex.Cr.App.2002); Goodman v.
State, 66 S.W.3d 283 (Tex.Cr.App.2001); Johnson v. State, 23 S.W.3d 1, 11
(Tex.Cr.App.2000); Cain v. State, 958 S.W.2d 404 (Tex.Cr.App.1997); Clewis v.
State, 922 S.W.2d 126 (Tex.Cr.App.1996).&nbsp;


The record shows
that appellant and four other men drove to Dallas, Texas, from Shreveport,
Louisiana, in search of marihuana.&nbsp;
Appellant drove the pickup.&nbsp;
After arriving in Dallas, appellant stopped in order to ask the victims
if they knew where to buy some marihuana.&nbsp;
The victims, 14-year-old males B.C. and E.G., were at a bus stop waiting
for the bus to take them home.&nbsp; After
initially answering negatively, E.G. told the men to try the projects in north
Dallas.&nbsp; At that point, the passenger
from the front seat of the pickup, Derrick Johnson, got out of the pickup,
exhibited a firearm, and forced the victims to get into the pickup.&nbsp; When the victims were unable to direct the
occupants of the pickup to a location to buy marihuana, appellant and Johnson
became angry.&nbsp;&nbsp; During the incident,
appellant hit E.G. with his fist, and Johnson hit E.G. two times in the face
with the gun.&nbsp; Appellant hit B.C. in the
head with his fist, and Johnson pointed the gun at B.C.&nbsp; B.C. testified that, at some point during
the incident, appellant had the gun.&nbsp;
Other testimony showed that the gun belonged to appellant.&nbsp; 

Appellant also
threatened to take the victims back to Shreveport and kill them there.&nbsp; Instead, however, appellant and Johnson
forced the victims to take all of their clothes off (except for E.G.=s muscle shirt).&nbsp;
The assailants threw some of the clothes out the window.&nbsp; At the instigation of appellant and Johnson,
B.C. was forced to perform oral sex on one of the backseat passengers; E.G. was
forced to perform oral sex on Johnson and appellant.&nbsp; Then, appellant suddenly stopped the pickup on the shoulder of
Central Expressway in Plano and told the victims to get out.&nbsp; Appellant would not allow E.G. to put his
boxers back on.&nbsp; The victims, who were
naked and cold, walked to a nearby trailer park where an old woman gave them
some clothes.&nbsp; B.C. called 911 from the
pay phone at the trailer park.&nbsp; 








Shortly thereafter,
police officers stopped the pickup, which was still being driven by
appellant.&nbsp; Inside the pickup, officers
found a Glock 27, .40 caliber handgun under the driver=s seat; a jacket and jersey belonging to E.G.; and
shot records belonging to B.C.&nbsp; An
officer also located other items of the victims= clothing, including a pair of jeans and boxers, along the
freeway.&nbsp; 

We hold that the
evidence is both legally and factually sufficient to show that appellant,
acting as either a principal or a party to the offense, is guilty of the
aggravated kidnapping of both B.C. and E.G.&nbsp;
Because an abduction is a Acontinuous,
ongoing event,@ appellant=s
intent to injure or sexually abuse the victims need not have been present at
the time of the initial abduction from the bus stop.&nbsp; Curry v. State, 30 S.W.3d 394, 406 (Tex.Cr.App.2000); Weaver v.
State, 657 S.W.2d 148, 150 (Tex.Cr.App.1983).&nbsp;
The record reflects that the victims were abducted and were restrained
from leaving during the course of events that included physical abuse and
sexual assault.&nbsp; Therefore, the evidence
is sufficient to show that, during the course of the abduction, appellant
intended to injure or sexually abuse the victims.&nbsp; See Curry v. State, supra; Weaver v. State, supra.&nbsp; The evidence is also sufficient to show that
appellant and Johnson exhibited a deadly weapon during the commission of the
offense.&nbsp; Appellant=s issues are overruled. 

The judgments of
the trial court are affirmed.&nbsp; 

&nbsp;

PER CURIAM 

&nbsp;

February 20, 2003

Do not publish.&nbsp; See
TEX.R.APP.P. 47.2(b).

Panel consists of:&nbsp;
Arnot, C.J., and 

Wright, J., and McCall, J.











&nbsp;&nbsp;&nbsp;&nbsp; [1]TEX. PENAL CODE ANN. '
20.04 (Vernon Supp. 2003) defines the offense and provides that it is a first
degree felony. 







